                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 IN RE:    ROBERT W. & SUSAN M. GEDDES
                                                                         Case Number: 09-68334 WSD
                                                                         Chapter 13
 Debtor.                                                                 Judge SHAPERO



                            FIRST AMENDED PAYMENT ORDER
         The above named Debtor(s) having filed a Petition for relief under Chapter 13 of the Bankruptcy
 Code, and Debtor, Robert W. Geddes, and Tammy L. Terry, Standing Chapter 13 Trustee, having stipulated
 and agreed to the entry of this Amended Payment Order pursuant to L.B.R. 1007-1(g) (E.D.M.),

 IT IS HEREBY ORDERED that B&B Trucking, Inc. (Payor), at (address) 6147 Technology Ave.,
 Kalamazoo, MI 49009 immediately forward and make payable to:

                                       Chapter 13 Standing Trustee
                                              PO Box 2039
                                        Memphis, TN 38101-2039

 $188.66 per Bi-Weekly (pay period) of the Debtor(s)’ future gross income until the further Order of the
 Court and that it cease and desist from giving effect to any prior or future garnishment, assignment, of the
 Debtor(s)’ income except for order for child support, or alimony, current withholding taxes, union dues, and
 medical or other insurance premiums. All 401K (payroll) deductions, deductions attributable to
 repayments on loans from 401 (K) and pensions shall continue.
                                                      .



 Signed on February 15, 2012
                                                           /s/ Walter Shapero
                                                       Walter Shapero
                                                       United States Bankruptcy Judge




09-68334-wsd         Doc 93       Filed 02/15/12          Entered 02/15/12 11:03:16            Page 1 of 1
